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                      IN TH E U N ITED STATE S D IST M CT CO U RT                                   MA2 s 2g1g
                     FO R TH E W E STE RN D IST RICT O F W RG IN IA                             JUU C              ,   CL K
                                 R OAN O U D IV ISION                                          BY:
                                                                                                                   E

U N ITED STATE S O F AM RRICA
                                                            Crim inalN o.7:18-cr-49
V.


D IAM O N D T O PAZ BRO W N ,                         By: M ichaelF.Urbansld
                                                            ChiefUnited StatesDistrictJudge
                D efendant.

                                   M E M O RAN D U M O PIN IO N

        On October18,2018,afederalgrandjuryrettzrned aonecountindic% entcharging
defendantD iam ond TopazBrown wit.h unlawfulpossession ofa fuearm by a convicted

felon inviolation of18U.S.C.j922(g)(1).Theindictmentallegesthaton orabout
Septem ber20,2018,Brown,having been convicted ofa crim e punishablebyim prisonm ent

foraterm exceeding oneyeat,did knowingly possess,in and affecdng com m erce,a flrearm ,

thatis,aTaurtzs,inodelPT111 G2,9m m sem i-autom adc pistol.ECF N o.4,at1.O n

February5,2019,thegovernmentflledanodce,ECF No.31,pursuaqttoRule404$)ofthe
FederalRulesofEvidence.ln thisnodce,the governm entstated itsintention to admitthree

differentitemsintoevidence:(1)thatBrownpossessedloadedftteatmsontwopriordates,
namelyAugust22,2006andOctober19,2012;(2)thatBrownthteatenedtokillseveral
individualsand thei.
                   rfam iliesand m ade otherthteatsofviolencein the daysim m ediately

pteceding thechargedoffense;and (3)aptobation form pumoredlysigned byBrown
stating,<f1willnotuse,own,possess,transportozcarry aflreazm .''ECF N o.31,at1-2.1The


1The governm ent'snodceindicated thatthe threeitem sabove ffmay be adm issibleasdirectand intri
                                                                                              nsicevidence ofthe
chargesintheNndictment,andassuch,tbisnodcedoesnotconcedethatRule404$)istheonlv
ECF N o.31,at1.                                                              '
                                                                               basisforadmissio
                                                                                              '
                                                                                               n.



Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 1 of 23 Pageid#: 208
m atterbefore the courtisBrown'sm odon to suppress,ECF N o.32,and exclude from

evidencethethtee item sabove flled on Febnzary 11,2019.O n Febnzary 15,2019,the

governm entflled itsresponse in opposidon,ECF N o.33,to Brown'sm odon.O n M onday,

M arch 18,2019 the cout'theld a hearing on thisand otheroutstanding m odons.Upon

consideraéon ofthepatties'argum ents,athorough review ofthetecord,and forthereasons

stated below,Brown'sm oéon to suppressisG RAN TED in partand D EN IED in patt.

                                                 1.

       Thefollowing background isa s'Am m aryoftheevidencethegovernm entexpectsto

adduce attrialand isdezived from the governm ent's facttzalproffer.In thelate holzrsof
          .        @



Septem ber 19 and into the early houtsofSeptem ber20,2018,m em betsoftheRoanoke

PoliceD epar% ent,U nited StatesM arshals CapitalArea RegionalFugitive Task Force,and

Btueau ofAlcohol,Tobacco,Firenrms,and Explosives(ATIRIwereattempdng to locate
Brown and serveherwith outstanding statefelonyextortjonwarrantsrelated tovatious
threatsofviolence allegedly m adeby Brown.ECF N o.33,at1.Thesestatewatrantshad

been obtained byRoanokePoliceDepartmentoffkers.LdaW hilesearclling forBrown,ared
lnfitlid SUV ,associated w1t.
                            11Brown'swife and understood to bedriven by Brown,was

located in the parking 1otofa Roanoke-areapoolhalland video gam ing venue,Guysand

Dolls.I.
       i Theinvestkativeteam setupsurveillancearoundthebusinessinozdertoattempt
to attestBrown on thewarrants.J-C.
                                 L at1-2.W hile sutveilling the parldng lot,offk ers

observedBrown exitinè GuysandD ollsand approaclzingthered SUV.J.Z at2.Brownwas
obsew ed opelaing the driver'ssidedoozofthered SUV ,appeared to rem ovean item from

thevehicle and to placeitunderhetshirt.J-daBrown then walked overto aw lliteToyota

                                             2
Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 2 of 23 Pageid#: 209
    sedan,andopenedthedriver'ssidedoor.LdxBrownthenappearedtoremovetheobject
    fzom undethershit'tand placeitunderthe driver'sseatoftheToyota.Id.

            A ftershe did this,offk ersm oved in to arrestBrown,who had quicldy re-entered

    GuysandDolls.J.
                  Z O ffkerslocatedBrown andarrestedherwithoutincident.LdaOffkezs

    lookedinthedriver'swindow ofthewlliteToyotasedan,whosedriver'sseatBrownhadjust
    been seen placing an objectunder.Id.W hilelookingit'
                                                       lthedriver's'window ofthatsedan,
    offcerssaw partofwhatappeared to be apistolprotruclitng outfrom' underthedtiver'sseat.

    Lt.
      tsThevehiclewassecured,and astatesearchwarrantwasobtained and executedon the

    vellicle.J-I
               .
               L Upon searchingthevehicle,aTaurus,modelPT111G2,9mm senai-autom atic
    pistol,serialnum betTIZ04805,wasrecovered from underthedriver'sseat.Id.The firearm

    wasloadedwith an extended magazinecontaining29roundsofammuniéon.JA Theofficer
    conducting the search also found a baggiewith two gram sofawhite,rock-like substance.J
                                                                                         .Z                   .




            A review ofGuysand D olls'secudty cam erafootage from the G uysand D olls

    parking 1otO egedly show ed Brown rem oving whatappeared to be ahandpm from the ted

    InfmitiSUV and placingitunderhershirt.J.c.
                                             kBrown can then allegedlybeseen goingto the
    wlliteToyota sedan,bending down itzto the car,where she appearsto place theitem under

    the froptseatofthatvehicle.Li Afterherarrest,officersM irandized Brown who,according
                                      .




    thegovernm ent,acknowledged herrightsand checked the box on a form thatshe
'

    understood them .2J.
                       da.Brown w enton to speak with ofhcers,and am ong otherthings,

    denied having a flzent'm in herpossession.J-I.
                                                 L A quely ofBrow n'scrim inallnistory reportedly



    2Variouspolice zeportsreviewed by the com tindicatethatdespiteacknowledging herM irandarightsand checking a
    boxthatsheunderstoodthem,Brownrefusedtosignthedoclamentcontniningtheboxshehadjustchecked.


    Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 3 of 23 Pageid#: 210
revealed thatshehad been convicted ofm uldplefelony convicéonsbefore the Septem ber

20,2018conductchargedin thecurrentindic% ent.JA at3.Herpriorconvictionsinclude

felony convictionsforeluding police,possession ofcopttolled substances,possession ofa

cellulatphone by a prisoner,and fourseparate convictionsform anufactute,sale,possession

ofcontrolled substances,andrevocadon ofasuspended sentence.Ld.s
        Thegovernm entindicatesthatan ATF SpecialAgentand lnterstateN exusExpert

w asprovided adescription ofthe above-listed frearm and concluded thatitisa ftrearm ,as

defined in the federalcode,and thatitw asm anufactared outsidethe Com m onw ealth of

Virginia,and therefore,sinceitwaspossessedin Vitginia,hadm ovedin and/oraffected

interstateorforeigncommerce.Id.On October18,2018,afederalgtandjuryretatneda
one-countindictment,charging Brown wit.h being a felon in possession ofa flrearm ita

violaéon of18U.S.C.j922(g)(1).LdxTheindictmentwasfiledwith thiscourton thesame
day.1i OnFebruary5,2019,thegovernmentfileditspoticepursuanttoRule404@)ofthe
FederalRulesofEvidence indicating evidencethatitm ay seek to inttoduceattrial.Id.

       Thenoéceincluded two priordatesthatBrow n haspossessed a flrearm ,which the

governm entcharacterizesassim ilarconductto w hatischatged in the presentm atter.Id.

Specifk ally,on oraboutO ctobet19,2012,the govetnm entstatesthatBrown possessed a

xloaded 9r14m flreot'm ,w lzich wasrecovered underthe dtiver'sseatin acarshew asdtiving.

Id.The police also recovered a scalewit.h residueon itand a quandty ofwllite chunky

substanceinthecenterconsoleand $540in cash in thefrontpantspocketofBrown.J.I
                                                                           .
                                                                           L
                                      h                                      ,

Brown w ascharged with possession ofcrack cocninewith theihtentto clistribute,possession

ofafltearm afterbeingaconvicted felon,and sevetalothercharges.J-dsThegovernment



Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 4 of 23 Pageid#: 211
indicatesthatpursuantto apleaagzeem ent,Bzown pled gtlilty to thecocaine chatge and the

fl.
  rent'm chargesw ere disnnissed.ld.at3-4.Thenoticealso included Brown'spossession ofa

loaded handgtm on August22,2006,in which shew asin the frontpassenger'sseatwith a

22 caliberpistolin herlap.Id.at4.W hen Brown wasdetained related to the 2006 incident,
.




shestatedthatshejustboughtthepistolfrom anotherindividualthatnight.Id.Anofûcer
obtainedajuvenilepetitionforBrown forpossessingthefuearm byapersonundettheage
ofeighteen.Id.

      Thegoveznm ent'snoéce also included evidence thatin thedaysleading up to the

conductcharged in theindictm ent,Brown m adevariousthreatsto kil1severalindividuals

and theirfnm ilies,thatshewould targetarea schools,and thatshe and othersw ere going to

shootup and/ottob SugarRay's,anothervideo gnmingestablishmentin Roanoke,Virginia.
J-daSpecifkally,thegovernmentindicatesthatmuléplewitnessesareexpected to teséfy

aboutthreatsBrown m adefrom September15-18,2018.Li On September15,awittless

allegedly heard Brow n getinto a disagzeem entwith acashieratSugarRay'sand threaten to

shootup thebusinessand tobit.LdaAnotherwittaessreportedlyheard Brown callothersto

havethem to bring thei.
                      rpmsto thebuildingto shootup theplace.IZ Also,on September

16,BrownwaspresentatSugarRay's,andwasplayingvideogamingm achines.J.
                                                                  1.
                                                                   L On a
video thatwastaken atthisém e,she allegedly can beheard saying thatshewasgoing to go

to hercar,getttlorem oney,and gethezTfsttap,''atel.m thatthe goveznm entclnim sisa

referenceto afttearm .Ld.aAgain,on September18,thiswitnesssaw Brown atSugarRay's,
andBrown allegedlystated thatshewould shootup theplace.1d.Tlzissameday,several
individualsallegedly received phone callsfrom Brown threateming to killthem and their


                                            5
Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 5 of 23 Pageid#: 212
 families.LdaBrown allegedlyreitetated tllreatsthatshewasgoing tohavesom eoneshootup

 orrobSugarRafs.J-daFinally,inspeakingwithoneoftheseindividuals,Brownallegedly
 demanded $20,000within twenty-fourhours.Ld.aIfthisdemandwasnotmet,Brown stated
 thatshewotlldhavesom eassociatescom edown and handlethings.LdxShealso allegedly

 stated thatifherdem andswerenotm et,Brown would targetthe schoolsand children of

 certain oftheindividualsshe wasthreatening.Jd.a4-5.Certin ofthesethreatsmadeup the
                                             -




 çonductforthe felony extortion w arrantsthatofficersserv'ed on Brown on Septem ber20,

 when shewasfound to bepossessingthecharged Stearm.Ld.
                                                     aat5.

        Lastly,thenoticeincluded thatdudng Brown'ssuperdsion fota priorfelony

 convicéon,shesigned aform statingvariousconditions.Li SpeciEcally,on November1,
 2016,Brpwn reportedly signed aform stating thatshewould not,'Tuse,own,possess,or

 transportorcarryaflrearm g,j''am ongotherterm sandconditions.Id.In hermotion to
 suppress,Brow n m ovesthe cotutfortheexclusion ofallofthe afotem endoned evidence

 containedinthegovetnment'sRule404$)noticeor,alternadvely,thatthecourtprovidea
 lim iting insttucéon upon itsaclm ission.

                                                 II.

        Rule404$)statesthatf<gelvidenceofothercrimes,wrongs,oractsisnotadmissible
 to prove the characterofaperson in orderto show action in conforrnitythem with.'?Fed.R.

 Evid.4049$.Such evidenceTfmay,however,beaclmissiblefototherpurposes,such asproof
 ofm odve,opporttznity,intent,preparation,plan,knowledge,idendty,orabsence ofmistake

'oraccident.'?Id.fflkule404$)isaruleofinclusion,adnaitdngallevidenceofothercrimesor
 actsexceptthatwhich tendsto prove only crim inaldisposidon.''United Statesv.M oore,709


                                             6
 Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 6 of 23 Pageid#: 213
F.3d287,295(4thCir.2013)(quoéngUnitedStatesv.B ers,649F.3d197,206(4thCit.
2011)).However,ifthegovernmentintendsto offerevidenceunderthistnlleatttial,then it
m ust,asithasdonein thiscase,give the defendantffreasonable nodce ofthegeneralnatare

ofsuchevidence''beforehand.Fed.R.Evid.404q$(2).
      TheFourth Circuithasoutlined a four-factottestthatmustbesatisfied before a

cotutcanproperlyadmitprior-bad-actsevidenceunderRule4049$:
             (1)Theevidencemustberelevanttoan issue,such asan
             elem entofan offense,and m ustnotbe offered to establish the
             generalcharaderoftlw defendant.In thistegard,them ore
             similartheprioractis(in termsofphysicalsimilat'
                                                           ityormental
             state)to theactbeing proved,themorerelevantitbecomes.(2)
             The actm ustbenecessaryin the sense thatitisprobative ofan
             essentialcllim oran elementoftheoffense.(3)Thçevidence
             mustbereliable.Finallyq,(4)theevidence'sprobadvevalue
             m ustnotbe substantially optweighed by confusion orunfair
             prejudiceinthesensethatittendstosubordinatereasonto
             em otion in the factfinding process.

UnitedStatesv.Queen,132F.3d991,997(4thCir.1997).Thefolzrthfactorrequiresthatall
admittedRule404:)evidencemustsadsfyRule403.UnitedStatesv.Williams,740F.3d
308,314 (4th Cir.2014).Rule4,
                            03instructsthetrialcourtto ffexcluderele'vantevidenceifits
probadvevalue issubstantially outweighed by a dangerofone orm ore ofthe following:

unfairprejudice,confusingtheissues,lnisleadingthejury,unduedelay,wastingtime,or
needlessly presene g cum ulaéveevidence.''Fed.R.Evid.403.

      Notallother-bad-actsevidence,however,fallswithinRule404$)'sscope.ln
particlzlar,theruledoesnotapplyto evidenceofothetbad actsthatareinttiniic(asopposed
toextrinsic)tothechatgedoffense.United Statesv.Chin,83F.3d 83,87 (4th Cir.1996).
O therbad Tfactsareintdnsicwhen they are finextdcably intertwined or130th actsarepartofa


                                            7
Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 7 of 23 Pageid#: 214
single crim inalepisodeorthe otheractswerenecessary prelim inadesto the crim echarged.'''

Id.(quodng United Statesv.Lambert,995F.2d 1006,1007 (10+ Cir.1993)).Evidenceis
inextticablyintertwined wit.h the evidenceregarding the charged offenseif,interalia,it

f'fot'm san'integraland naturalpartofthewitness'saccountsofthecircum stances

surroundingtheoffensesforwhichthedefendantwasindicted.''J.
                                                         z (quotingUnitedStates
v.Edouard,485F.3d1324,1344(111 Cir.2007)).Thoughevidenceofotherbadactsthat
areintdnsicisnotsubjecttoRule404(b)'slimitaéons,suchevidencemuststillsatisfyRule
403'stequirementthatitsprejudicialvaluenotoutweighitsprobadvevalue.UltedStatesv.
Seabolt,554Fed.App'x.200,206(4thçir.2014).
       Brow n contendsgelw rally thattheevidencecontained in the governm ent'snodce

failsto meettheflrst,second,and fourth Queen requitementsbecausetheevidenceis
neither(1)zelevanttoanyelementoftheoffensechargedunderj992(g)(1),nor(2)
necessary,i.e.,probadve ofan essendalelem entozcbim .ofthe offense.ECF N o.32,at2-3.

Brownalsoclnimsthatthe(3)probaévevalueoftheevidenceisfTclearlysubstantially
outweighedbyconfusion ozunfaitprejudicein thesensethatittendsto suborclinatereason
to emoéon in thefactfindingprocess.''J-1
                                       .LIndeed,Brown clqim sthattheplanned
introducdon ofthe aforem entioned evidence can only be described asan inappropriate

attem ptto establish the ffbad''characterofBrown,wllich isspecihcally prohibited under

Rule4049$..
          Ldsat2.
                                                 111.

       TheflrstQueen requirem ent,asintem retedbytheFotuth Circuit,dictatesthatffgfjor
evidenceto berelevant,itm ustbe fsuffk iently related to thechatged offense.'''United


                                             8
Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 8 of 23 Pageid#: 215
Statesv.McBride,676F.3d385,397(4thCir.2012)(quotingUnitedStatesv.Rawle,845
F.2d 1244,1
          .247n.3(4thCir.1988));seeFed.R.Evid.401(a),(b).ffl'hemoreclosely...the
prioractisrelated to thecharged conductin dm e,pattetn,orstate ofmind,thegzeaterthe

potenéalrelevanceoftheprioract.''Id.ffgq vidence,to berelevant,fneedonlyto haveany
tendency to m ake the existence ofany factthatisofconsequence to the deternaination of

the action m ozeprobableorlessprobable than itwould bewithoutthe evidence.''?By> ,
                                                                               - -




649F.3dat208(quotingUnitedStatesv.Aramon ,88F.3d1369,1377(4thCir.1996)).
Queen itselfisinstructiveofwhattheFotuf.h Circuitenvisionsfortherelevanceprong.
There,Queen waschatgedwithwitnesstampering,andin itsprosecution,thegovernment
soughtto inttoduceprioractsofwitnesstamperlg.Queen,132F.3d at992-93.
U nsulw isingly,theFourth Circuitheld thatthesepastactsofwitnesstam pering were

aclmissibleunderRule404@)toshow Queen'sintenttocommitthechatgedwitness
tampering asitwasvittuallythesnmeconduct.Lt.
                                           k at997.

      Undertlaesecond Queen reqlzirement,evidenceisconsidered necessaryKfwhereitis
an essentialpartofthe ctim eson tdal,orw here itflltnishespat'tofthe contextofthe

crime.''UnitedStatesv.Mark,943F.2d444,448(4thCit.1991)(internalquotadonmarks
andcitadonomitted);seeUnitedStatesv.Smith,441F.3d254,262(4thCir.2006)
rfEvidenceisnecessary,evenifitdoesnotrelatetoanelementofachargedoffense,whenit
furnishespartofthecontextofthecrime.''(intetnalquotation marksonlittedl).Sigzlificantly,
courtsmustdeterminewhethezpriorbadactsevidenceisdfnecessary''underRule404$)in
fflightofotherevidenceavailableto thegoveznment.''Queen,132F.3d at998 (itaernal
quotationmarksomitted).Thus,ffasthequanmm ofothernon-Rule404$)evidence

                                            9
Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 9 of 23 Pageid#: 216
availabletoproveanissueunrelatedtochracterincreases,theneedfoztheRule404$)
evidencedecreases.''UnitedStatesv.Lighty,616F.3d321,354(4thCit.2010)9séeid.rfgl)f
theRule404$)evidenceiseneelycmnuladvetoothernon-Rule404$)evidenceavailable
tothegovetnment,theRule404$)evidencemaynotmeetthenecessitypronp').Of
course,theinverseistrtzeaswell,suchthatRule404@)evidenceismozelikelytobecome
necessarywhere the evidenceintrinsic to the crim eatissueissparse orweak.SeeU nited

Statesv.Wilson,624F.3d640,654(4thCir.2010)9UnitedStatesv.Dizenzo,500F.2d263,
266(4t.
      h Cir.1974).
         Finally,asto thelastfactotin dispute,underthefourth Queenrequirement,
TfgeqvidencesoughttobeadmittedundetRule404$)mustalsosadsfyXed.R.Evid.qRule
403(j...''UnitedStatesv.Sie e1,536F.3d306,319(4thCir.2008).UnderRule403,
Tfdam age to a defendant'scase isnota basisforexcluding probativeevidence''because

ffgelvidencethatishighlyprobaéveinvariablywillbeprejudicialtothedefense.''United
Statesv.Grimmond,137F.3d823,833(4thCir.1998).Inotherwords,dfgeneralprejudice..
.   isnotenough to warrantexclusion ofotherwiserelevant,admissibleevidence.Evidence

maybeexcludedunderRule403onlyiftheevidenceisùnfaitlyprejudicialand,eventhen,
onlyiftheunfaitprejudicesubstantiallyoutweighstheprobadvevalueoftheevidence.''
Siegel,536F.3dat319.Unfairprejudiceexistsfdwhenthereisagenuinedskthatthe
emodonsofajurywillbeexcited toitzadonalbehavior,and tllisriskisdisproportionateto
theprobadvevalueofthe offered evidence.7?Id.G enerally speaking,tTbad acts''evidence,

adm issibleunderRule404,isnotbarred by Rule 403 where such evidence ffclid notitw olve




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Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 10 of 23 Pageid#: 217
èonductanymoresensationalordisturbingthan thecrimeswith which gthedefendant)was
chatged.''United Statesv.Bo d,53F.3d 631,637 (4th Cir.1995).
                                          A.

      Brow n contendsthatevidence thatshepreviously possessed flrearm son August22,

2006andOctober19,2012isinadmissibleother-bad-actsevidenceunderRule404($.The
governm entdoesnot,norcould it,assertthatevidence ofthesepriorpossessionsqualifiesas

ffinttinsic''evidencetothej922(g)(1)offensethatisthesubjectofthiscase.Thisconduct
doesnotariseoutofthe sam eseriesofttansacéonsasthe chatged offense,norisevidence

ofthe conductrequired to com plete thestoryoftheoffense.M oreover,the conductwasnot

a necessaryprelim inary to the charged offense.Therefore,evidenceofthe 2006 and 2012

conductisinadmissibleunlessitsatisEe!theQueen factors.Thegovernmentcontendsthat
thepriorpossessionsin question areadmissible to prove nearly allofthe otherpurposesfor

which such evidenceisadm issible,such asm otive,oppottaztzity,intent,preparaéon,plan,

knowledge,idenéty,absenceofm istake,orlack ofaccident.M otespecifically,the

governm entclnim sthatthepastpossessionsatissue are aclmissible to prove knowledgeor

intenttopossessafuearm,wllicharedirectlyimphcatedbyelementsofj922(g)(1).See
UrlitedStatesv.Scott,424 F.3d 431,435(4th Cit.2005)(reiteraéngthatf<afelon's
possession ofaftzenf'm mustbeb0thvoluntaryandintentionalto bepunishableunderj
922(g)(1)'').Thegovernmentfizttherassertsthatthe2006and 2012possessionspassall
threeQueen factorsin dispute,i.e.,evidenceofthesepossession isrelevant,necessary,and
notundulyprejudicial.Thecouttconcutswith thegovernmen'tasto the2012possession,
finding forthereasonsbelow thatevidence asto thispriorpossession isaclm issible.W ith



Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 11 of 23 Pageid#: 218
zespectto the 2006 possession,however,thecourtgrantsthe m odon to excludeevidence

concerning thatpossession.The courtwillbriefly addressthe2006 possession before

conducdngaQueen analysisofthe2012 possession.
      W ith respectto the2006 conduct,the governm entconceded during theM arch 18

hearing thatbecause thisconductoccutred ovetten yearsago,itsrelevancy ism oze

attenuated.The courtagrees.In the 2006 incident,Brown,afterbeing detained,adm itted to

thearrestingofûcerthatshehadjustboughtthe.22caliberpistolftom anotherinclividual
thatvely night.W hilethemerelapseoftimealoneisinsufficienttojusdfyexcluding
evidenceofthe2006 conduct,UnitedStatesv.Brown,398Fed.Appx.915,917 (4th Cir.
2010),itisafactorthçcollt-fcan considerin detet-miningwhethertheevidenceisbeing
offered to establish an elem entofthecharged offenseor offered only aspropensity

evidence.In addidon to thelack oftem poralproxim ity,severalotherfacm alclissim ilarities

with the case atbarfurtherHim ilnish theprobaévevalue ofthisconductand weigh agninst

itsadrrlissibilityunderQueen.W henBrownwasarrestedin2006:(1)theflrent'm zecovered
from herpersonwasaloaded.22caliberpistol(nota9mm pistol);(2)thefttearm was
locatedinher1apinthepassenger'sseatratherthanundezthefrontdriver'sseat;(3)shewas
ajuvenileatthetime;and(4)shewaschargedthro'
                                          ughajuvenilepedtionwithbeingaminor
inpossession ofafltent.
                      m ratherthtough grand juryindictmentwit.h being aconvicted felon
inpossession ofafuearm underj922(g)(1).Thoughindividuallythesedissimilaritiesmight
notsufficetojusdfyexclusionofthe2006conduct,collectively,theyweakentheprobadve
valueofthisevidence to such an extentthatitoughtnotto becopsidered by the tderoffact.




Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 12 of 23 Pageid#: 219
Thisisespecially the case given theavailabilityofand court'sfincling vis-à-visthe 2012
                         ,




conductdiscussed below.

       In relation to thegovernm ent'sintended introducdon ofevidenceofthe O ctober19,

2012 possession,thegreatweightoftheprecedentin the Fotzrth Circuitand beyond

nailitatesin favozofadmissibility.With zespectto theflrstand second Queen factors-
relevancyandnecessity- inotderto sustninthej922(g)(1)chargeallegedintheindic% ent,
thegovernm entwillberequited to provebeyond areasonable doubtthaton September 19-

20,2018:ff(1)thedefendantpreviouslyhadbeenconvictedofacrimepunishablebyaterm
ofimprisonmentexceedingoneyear;(2)thedefendantknowinglyposs8ssed,ttanspotted,
slnipped,orreceived,theflreatm;and (3)thepossessionwasin oraffectingcommerce,
because the ftteatm had travelled in interstate orforeign com m erce atsom epointdutingits

existence.''UnitedStatesv.Lan le ,62F.3d602,606(4thCit.1995);see18U.S.C.j
922W (1).Ftzrthermore,,f<afelon'spossessionofafaearm mustbe130thvoluntaryand
intentionaltobepunishableunderj922(g)(1)g.j''Scott,424F.3dat435.Thegovetnment
mayptovethepossessionelementinaj922(g)prosecudonbyshowingact'ualor
constructivepossession ofthefuearm.United Statesv.Mo e,454F.3d 390,395(4th Cir.
2006).
       TheFourth Circuithasrepeatedlyrecognized thatin aj922(g)case,possession of
otherfttearmsatothertimescan beadnnittedundetRule404$)becauseitisrelevantto the
defendant'sknowinglyandintenéonallypossessing thecharged firearmsand frequently
necessary to provethese elem ents.See,e.g.,U nited Statesv.Stewart,628 Fed.Appx.179,

182(4thCir.2015),cert.denied,136S.Ct.1227(2016)Soldingthatdistdctcourtdidnot


Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 13 of 23 Pageid#: 220
abuse discredon in adrnitdng evidence ofdefendant'stwo pziorconvictbnsforbeing a felon

in possession ofafltearm in aprosecudon forafelon in possession);United Statesv.Trent,
443Fed.Appx.860,863(4th Cir.2011)(affltrningdistrictcoutt'sadrnissionofevidencethat
thedefendantpossessed uncharged firearm sthree and fouryearspriorwhere,Ekethe case

beforeit,the defendantfled ftom thepolice in hisvellicle and ttkd to disposeofthose

handguns);UnitedStatesv.Comstock,412 Fed.Appx.619,624 (4th Cir.2011)(afflt-ming
Rule404$)adnnissionofvideoofdefendantwalkingaroundwithatleastonehuntingrifle
in felon-in-possession case,where he argued thathedid nothaveknowledge ofpistolsin the

tnmkoflniscarl;UnitedStatesv.Tea e,737F.2d378,381(4th Cir.1984)lRule404$)
evidencewasadnnissiblewhen defendantdenied knowledgeofgun foundin vehicle);Brown,
398Fed.Appx.at917(concluclingthatevidenceofthedefendant'spriorpossession of
fuearmswasadrnissibleandprobadveastoVsintentto exercisedominion and controlover

fuearm in casewheregovetnmentsoughtto ptoveconstrtzcévepossessionunderj922(g));
UnitedStatesv.McDonald,211Fed.Appx.222,225(4thCir.2007)@ercuriam)Solcling
thatevidencethatdefendantTfhad previously been arrested forthepossession ofafuearm

wasrelevantto hisknowledgeandintenttopossessthehandgunrecoveredhere');.
                                                                      B
                                                                      --PCJ-q,
649F.3dat208-09(tnllingthattestimonythatdefendantcommittedashooéngt'woyears
priorto thecharged conductwasadmissible asrelevantand necessary to establishing m odve,

idendty,and anintertwined scheme);seealso United Statesv.Jernigan,341F.3d 1273,1281
(11+ Cit.2003)rfrfjhecaselaw in thisand othercircuitsestablishesclearly thelogical
connecéon between a convicted felon'sknowing possession ofa fltearm atone tim e and his




                                           14
Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 14 of 23 Pageid#: 221
knowledgethataflrearm ispresentatasubsequenttime(or,putdifferently,thathis
possession atthesubsequentHm eisnotmistaken oraccidentall.').3
        EvidenceofBrown'satrestand chargeunderj922(g)(1)4in 2012under
citcum stancessubstantially sim ilarto thosein thepresentcaseispbinlytelevantand

necessgryin dete= ining herknowledge ofand intentto possessthe flrearm discoveted by

offk ersunderthe driver'sseatoftheToyota sedan on Septem ber19-20,2018.lndeed,the

factsofthe2012 conductclosely resem blethosein thidcase.In 2012,Brown concealed a

loaded 9m m handgun underthedtiver'sseatofaca.
                                             rwllich shewasdriving.H ere,offkers

observed,and video cam erafootageallegedly shows,Brown rem oving aloaded 9m m

handgtm from beneath thedtiver'sseatofared Infinié and placingitunderthe driver'sseat

ofawlniteToyota.M oreover,in 130th instances,officersnotonly recoveted aloaded 9m m

handgun,butalso discoveted awhite,potentially contraband substancein therespecdve

vellicles.In short,Brown'spastpossession and concealm entofaloaded 9m m pistolunder

theHtivet'sseatofavehicleisprobadveofanelementofj922(g)(1),namelythatshe
knowingly and intentionally possessed the chatged fttearm .

        Turning to thefoutth Queen factot,wbich incotporatesRule403'srequitementthat
theprobativevalueofsuchevidenceoutweighanyprejudicialeffect,thecourtconcludes
thattheevidence here m eetsthatcriterion,aswell.In thiscase,theintroducdon ofthe




3Brown doesnotcontesttlzefhirdprongoftheQueen test,namelyreliability.Thecourtwould notethatnothingbefore
itatthisfim e callsinto quesdon the zeliability oftheevidence thegovernm entintendsto introducevis-à-visthe2012
conduct.'I'
          hecotu'
                tneedonlytodeterminethatareasonablejurorffcouldSrldthatthedefendantcommittedtheprior
actbyaprepondezanceoftheevidence.''UnitedStatesvfKenn ,973F.2d339,344(4thCir.1992).Flzrther,the
defehdu tneed notbe convicted ofthe conductforevidence ofthatconductto be considered reliable ornecessarp See
UnitedStatesv.Comstock,412F.App'x619,623(4thCir.2011).                       '
4'
 Thej922/)(1)chargewaslaterdismissedpursuanttoapleaagreement.ECFNo.33,at3-4.


Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 15 of 23 Pageid#: 222
evidenceinquesdonwouldnotcreateagenuineriskthatjuzorswouldbeexcitedto
irradonalbehaviorbecausethatevideûce doesffnotinvolveconductany m ore sensationalor

distuzbingthanthecrimeswithwhich L'
                                  Brownisjcharged.''B
                                                    --qpd,51F.3dat637(ciéng
UnitedStatesv.Roldan-za ata,916F.2d795,804(2dCir.1990)).Indeed,becausetherewill
alteadybeevidencebefotethejurythatBrownpossessedaflrearm,thepriorpossession ofa
fuearm in 2012isnotanym oreprovocati
                                   veorinflammatorythan thechargedcrime.Ldaat

6379Comstock,412Fed.Appx.at624 (specificallynotingthatprioractsoffuearms
ppssession Trinvolved conductsubstandally sinailarto thecharged offense,lessening the

dangerthatthejurywouldbeprovokedtobehaveirrationallf).lndeed,evidenceofthe
2012possession isprejudicialto Brown'scaseonlyin thesensethatitsupportsalegitimate
inference thatshe knowingly and intentionally possessed theflrearm atissuein thiscase.See

Trent,443F.App'xat863.Tllissortofffgeneralprejudice'?doesnotjustifytheexclusion of
otherwiserelevant,necessary,and reliable evidence.SeeSiegel,536 F.3d at319.Further,the

dourtiscognizantofthe Folzt'th Circuit'sadm onidon thatffthebalance underRule 403

should be strtzck in favorofadm issibility,and evidence should beexcluded only sparinglp''

UnitedStatesv.Arnmon ,88F.3d 1369,1378 (4th Cir.1996).Forthesereasons,thecourt
willallow theintroduction ofevidence related to the2012 possession idenéfied by the
                                                                                .




goveznm ent.Thecourtm ay lim itsuch tesém ony attrial,how ever,to theextentitis

needlessly c''m uladve.See Fed.R.Evid.403.

                                                B.

      The courtnextconsidersthe second category ofevidencecontained in the

governm ent'snotice concezrling threatsofviolence allegedly m ade by Brown to vadous



Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 16 of 23 Pageid#: 223
individualsand entidesin the daysleading up to the conductchatged in theindic% ent.The

governm entcontendsthatm uch oftheevidenceand/ortestim onyitexpectsto adduce
tegarding the threatsallegedly m adebetween Septem ber15 and Septem ber 18,2018 is

f'intzinsic''evidenceinextdcablyintertwinedwiththe3 j922/)(1)chargeagainsther.The
governm entfurtherassertsthat,to the extentsuch evidenceisconsidered Tfexttinsicy''it

satisfiesallfourrequitementsundertheQueen framework.Brown,advancingafarnarrower
view ofwhatqualifiesasTfintrinsic''evidence,contendsthatthreatsim plying hetpossession

offtrearm and suggeséng herwillingnessto use a flteot'm areirrelevantin determining

whethershe possessed a ftreat.m and isthereforeinadnnissibleirrespective ofwhetheritis

classifed asffintrinsic''orffextrinsic.''Thecourtconcludesthatm ostofthe evidence

regarding threatsofviolenceinvolving theuseofflrearm sin the dayspreceding the charged

offense qualisesasffintrinsic''evidence,butthat,it'
                                                  zany event,itisadmissible underRule

404$)becauseitsaésfiesallthteeofthedisputedQueen factors.Thecout'twill,however,
excludethreatsevidencetotheextentthatitreferencesthetargeéngofschoolsand/or
children pursuantto Rule403.

       Evidenceofpriorunchargedconductand/oractsisçfintrinsic''ifthoseactsare
Kfinextricablyinterdewed orlnot.h actsarepartofa singleczim inalepisode ortheothetacts

w ere necessary prelim inariesto the offense charged.''V ariouscourtshaveheld thatevidence

isffinextricablyitatertwined''ifitis(1)Tfnecessarytocompletethestorf'ofthecharged
ctime,UnitedStatesv.Kennedy,32F.3d876,885(4thCir.1994),(2)Tfprovidegslcontext
relevantto thectiminalchatgeg,''United Statesv.Cpoper,482F.3d658,663 (4th Cir.2007),
(3)fffot'msan fintegralandnatazralpartofthewittaess'saccountsofthecitcllmstances

                                            17
Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 17 of 23 Pageid#: 224
surrounding the offensesforwhich the defendantwasindictedy'''United Statesv.Edouard,

485F.3d1324,1344(111 Cir.2007)(citadononaitted),or(4)Tfcontributegsltothenarraéve
ofthecharged ctimey'?United Statesv.Pa ne-owens,845F.3d 868,872 (8th Cir.2017).See
United Statesv.Samuels,521F.3d 804,813(7th Cir.2008)rflntticatelyrelated evidenceis
evidencethateithetcom pletesthe story ofthe crim e on ttial,theabsenceofwhich fw ould

create a chronologicalorconcepm alvoid in the storyofthectim e,'otisfso blended ot

connectedthatgitjincidentallyinvolve gsj,explainlsjthecitctzmstancessurrounding,or
tendgsqto proveany elementof,thechargedcrime.'7).ButseeUnited Statesv.Lentz,282F.
gupp.2d399,430(E.D.Va.2002),aff'd,58F.App'x961(4thCir.2003)rfrllheAotutis
wary ofextencling the definiion ofV trinsic'actsto covezincidentsin thiscase thatm erely

Tsetthestage'forthecharged offenseasthe ggqovernmentcontends.');UrlitedStatesv.
H-a-tdy,228F.3d 745,750 (6t.h Cir.2000)(allowinggeneralexcepdon forffbackground
citcumstances''would allow exception thatswallowstherulel.
      ln the presentcase,thegovernm entintendsto introduce evidence thatthe defendant

threatened ntmaerousindividualsand enddesfrom Septem ber15 to Septem ber18,2018

beforethecharged conducton Septem ber 19-20,2018.Thegovernm entarguesthatnotonly

isthetempozalproximity sttong,butthe thteatsin question related to ffshooting up and

robbing businesses,killing people,and having othersdo the sam e,stem lning fzom conflicts

(thedefendantjhad ...gatjagamblinghall,''allofwlzich explminwhythedefendantrnight
bein possession ofa flrelt'm dayslaterin tlae parking lotofinothergaming hall.ECF N o.

33,at12.The courtagreeswith thegoveznm entthatthisthteatevidenceisnecessaryto

provide context,isan integraland nattzralpartoflikely witnesses'accountsofthe


                                            18
Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 18 of 23 Pageid#: 225
circum stancessturounding the charged offense,and generally contdbutesto the narradve.

Forthegoveznment'switnessestopresentacoherentandcomprehensiblestorytothejury,
they should be perrnitted to explzn thatvariousofthese thzeatssew ed asthebasisfor the

felony extordon w arrantswhich were served on Brown atthe tim e she wasfound in

possession ofthe charged flrent'm .In otherwords,and sim ply put,Brown'sthreatsto shoot

othezsispartand parcelofthe story ofthe crim e and an unavoidableincidentofpresendng

otherpermissibleevidence.M oreover,thegovernm entassertsavalid,non-propensity

purpose forintroducing thisevidence,nam ely thatitisprobadveoftheBrown'sm oéve to

unlawfully possessa flrearm and linksherto the flrearm shem oved from one ca.
                                                                            rto another

and stow ed under the dtiver'sseat.See United Statesv.Pa ne-ow ens,845 F.3d 868,872-73

(8thCir.2017)(afftrlningclistrictcouttwhichclassifedasTfinttinsic''andaclmittedinto
evidenceFacebook m essagesand postsincluding thteatsofviolence asitsuggested a

ffmotivetopossessarealgun''inj922(g)(1)casels;seealsoM allo v.UnitedStates,186
A.3(1802,809-11(D.C.2018)(affitvningdistrictcourt'saadmissioninto evidenceof
uncharged priorthreatto shootvictim 'scarin a felony threatsand unlawfulflrearm s

possession case asitwasptopezly adrnitted asffcontextevidence,fnecessary to com pletethe

storf?);UnitedStatesv.Dllmite,No.7:15-CR-00098,2016K 4507390,at*10(W .D.Va.
Aug.26,2016)(classifyingasrfintrinsic''andadmitdngintoevidenceinj922(g)(1)case
evidence thatdefendantassaulted and threatened llisgirlftiend and herm otherfottaking




5Thecourtissuedaverbalinstrucdonadmonishingthejurorstoconsidetthethreatsevidenceffontheissueofwhether.
..   the defendanton tlialherehad a m odve to possessand nothing else.''Id.at873.Thiscourtintendsto sim ilarly
instructthejury.
                                                          19
Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 19 of 23 Pageid#: 226
aw ay hisftteatm sasitbearsditectly on an elem entofthe offense,whether defendant

knowinglyandintentionallypossessed thecharged flrenfvns).
        In thealternadve,thegovernm entsubznitsthatthe threatsevidence,even ifsubject
                                                                               ..




totheQueen test,m eetsallfourcriteriaforadmissibility.Exceptforthedefendant'sthreats
totargetschoolsandchildren (discussedbelow),thecotutagreesthatthethreatsevidenceis
ade ssible.Thethreats,especially thethteatallegedly captared on video itaw hich Brown

statesthatshewould go to hercarand getherTfst-
                                             tapy':isprobadve of,interalia,hetintent,

m odve,absenceofm istake,and stateofnaind in possessing the flrearm in queséon on

Septem ber19-20,2018.Indetd,given the specificity ofherrepeated threatsto shootvarious

peoplein thedaysleacling up to the chatged conduct,and given thatthesethteatsappeartq

relate to negadveexperiencesatlocalgam ing hallsapd,in one instance,explicitly referto

storing a flrearm in a car,such threatsare probativeasto w hetherBrown knowingly and

intendonally possessed a flrearm in hercar,which wasparked in tlaeparking lotofagam ing

hall.

        The defendantarguesthatthe extoréon warrantsand factsundetlying them have

nothing to do with theintentto possessa fttearm .The courtdisagtees.If,fotexample,a

defendantthreatened to blow up a neighbor'shom e orbusiness,and w assubsequently

arrested forunlaw fulpossession ofexplosives,itsim ply cannotbe said thattestim ony from

the neighborthatthe defendantthreatened to use explosivesisirrelevantin deteznlining

whetherheor shepossessed explosivesifpossession isdisputed.ln short,the threats

evidenceistelevanyand necessaryunderQueen.ThoughçBrown doesnotcontestthe
reliability ofthe threatevidence,the goveznm entnonethelessaverstlaatm any ofthethteats




Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 20 of 23 Pageid#: 227
werem ade in the presenceofothers,who ate expected to consistently teséfythatitwas

Brown w ho m ade ând threatened to carry out,orhave Mtherscarry out,the threatsdescribed

above.M oreover,the governm entclqim sto bein possession ofavideo in which Brown,ata

gam bling hall,can be heard referencing her'Tstzap.''The courtdoesnothaveany reason at

thistim eto beconcerned aboutthecredibility and reliability ofthe threatsevidence.

      FinaEy,regatdlessofwhetherthe threatsevidence isclassified asçfintrinsic''or

ffextrinsic,''itm ustsatisfythereqllirem entsofRule 403 to beaclm issible.SeeFed.R.Evid.

403(providingthatrelevantevidenceffmaybeexcludedifitsprobativevalueissubstantially
outweighed bythedangerofunfaitprejudice,confusion oftheissues,ornaisleadin'gthejury,
orby consideradonsofundue delay,waste oftim e,orneedlesspresentaéon ofcum ulative

evidence').Thecouttfindsthattheprobativevalueoftheaforementioned teeatsto
individualsandbusinessisnotsubstanéallyoutweighedbytheriskofunfairprejuiceexcept
to theextentthese threatsreferto thetargeting ofschoolsorchildten.The courtfindsthat

evidencerelatedtothreatstoschoolsozchildrenmayinflamethejuryanddivertitfrom
deciding thecaseon therelevantevidence concerning the ctim eand thedefendant.

Therefote,testimonyand/orotherevidencezelated toalleged threatsagainstschoolsand
children w111notbe adm itted attrial.W hile the otheralleged'threatsateperhaps

disconcerting,theyarenotsoprejudicialthatthecotutwouldbejuséfiedinexcluclingthem.
Thecourqhowever,maylimittestimonyand/orotherthteat-related evidenceifits
presentaéon becom escllm uladve,wastestim e,ortendsto confusetheissues.

                                           C.




Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 21 of 23 Pageid#: 228
      Thetlnitd and fm alitem the governm entindicated an intentto intzoduceisevidence

ofa form signed byBrow n on N ovem ber1,2016w hen shewason superdsion fora state

felony convicdon.Tllissigned form ,which waswitnessed by herprobation officvr,notd ed

Brow n thatshewasnotto Kfuse,own,possess,transportorcarry aflrearm .''ECF N o.31,at

2.Thegovernm entassertsthatthisevidencem aybeintroduced asdirectevidence for

purposesotherthanRule404$)evidence,includingTtasabasisofherL'
                                                            Brown'sjfelony
conviction.''ECF N o.33,at15.The governm entfsattherassertsthatthisevidence also bears

ditectlyupon elementsoftheunderlying j922(g)(1)offense,asitshowsBrown'sstateof
nlind and absenceofnéstakein possessing the fuearm with wlzich shewascharged.ltis

unclearto the court,which wasneitherprovidedwith norhasreviewed theprobation form

in question,whetherthe charged offense occurred during theprobationaryperiod forwlaich

theabove-referenced condition in the form applied.Therewassom e uncertaintyon this

factualissue during the hearing on M arch 19,2019.

      Iftheprobationaly period expired before the occurrence ofthe charged offenseon

Septem ber19-20,2018,then even ifprobative oftheBrow n'sstate ofmind in som e sense,it

would notbe probative ofherstate ofrnind in any relevantotapplicable period.If,on the

otherhand,the chatged conductoccurred dlzring theprobaéonaryperiod,butBzown

StiPulatesto a priorfelony,'then,again,the form becom esirrelev'antinsofarasthe

govetnm entintendsto inttoduce itasa basisforherpriorfelony convicéon.The

governm entappeared to agree thatto the extentBrown agêeesto such a stiplzlatbn,the

signed pzobadon fot.
                   m isredundantand losesitsrelevancy.SeeUnited Statesv.Burton,155

Fed.Appx.92,95(4thCir.2005)Soldingthatdistrictcourtit'
                                                     lfelon-in-possessioncasedid

                                           22
Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 22 of 23 Pageid#: 229
noterrin admiténg stipuladon describing priorconvictionsforillegalpossession ofa

ftreat'm ,w here sdpulation excluded detailsregarding the citcum stancesofpdorconvicdons

and includedonlyidenéficaéon oftheconvicdons,and courtissued limiénginstrucdons).If,
how ever,the charged offenseoccutzed dudng theprobadonary period and thepardes

cannotagree to afelony conviction stipulaéon,then perhapsthe probaéon form and its

tet'm sate adm issible.Tbism atteristhezeforetaken undezadvisem entuntilthetim e oftdal.

                                           IV .

      Forthe aforem enéoned reasons,Brown'sm oéon to suppressisGRAN TE D in part

and D E N IED in part.Brow n'sm otion isG RAN TED asto the 2006 conductinvolving

herpossessionofflrearm butD/NIED astothe2012conductinvolvingthesame.Except
forthose tllreatsreferring to schoolsand childten,Brown'sm odon to exclude the threats

evidence isD EN IE D .Finally,becausethe adm issibility ofthe probation form depends

upon factsyetto bedetetm ined,them otion to exclude thisitem isTAK RN U N D ER

AIM SEM EN T.

      A n appêoptiate Orderwillbeentezed.
                                                  Entered: O S*'Z'*''eP*9tY
                                                                                          '
                                                                                                  .


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                                                                                              .

                                                  M ichael . rbanski
                                                  Urli        tatesDistrictludge




                                           23
Case 7:18-cr-00049-MFU Document 49 Filed 03/26/19 Page 23 of 23 Pageid#: 230
